                      Case 1:22-cv-02922-CJN Document 1-6 Filed 09/27/22 Page 1 of 1

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        CENTER FOR BIOLOGICAL DIVERSITY


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         U.S. FISH AND WILDLIFE SERVICE;
  MARTHA WILLIAMS, Director of the U.S. Fish and
  Wildlife Service; and DEB HAALAND, Secretary of
           the U.S. Department of the Interior
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                                                     SUMMONS IN A CIVIL ACTION

7R 'HIHQGDQW¶VQDPHDQGDGGUHVV Civil Process Clerk
                                          U.S. Attorney's Office for the District of Columbia
                                          555 4th Street NW
                                          Washington, DC 20001




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